

Matter of Jang (2023 NY Slip Op 01347)





Matter of Jang


2023 NY Slip Op 01347


Decided on March 16, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 16, 2023

PM-50-23
[*1]In the Matter of Soonwon Jang, an Attorney. (Attorney Registration No. 5272943.)

Calendar Date:March 6, 2023

Before:Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and McShan, JJ.

Soonwon Jang, Kyoungnam, South Korea, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Soonwon Jang was admitted to practice by this Court in 2014 and lists a business address in Changwon, South Korea with the Office of Court Administration. Jang now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Jang's application.
Upon reading Jang's affidavit sworn to February 3, 2023 and filed February 24, 2023, and upon reading the March 3, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Jang is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Soonwon Jang's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Soonwon Jang's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Soonwon Jang is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Jang is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Soonwon Jang shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








